895 F.2d 1417
    Gilbertson (John, Janice)v.Arnheim (Anders G.), Alanthus Corp., f/k/a TechnologyFinance Group, Inc., Computer Value Assoc., AmericanComputer Equipment Leasing, Leasing Consultants Associates,Gordon S. Rosen Associates, Inc., McKenna (William), TexcomEquipment Corp., Heitmeyer (Richard A.), Wellbrock (RichardD.), Ward (William B.)
    NO. 88-4100
    United States Court of Appeals,Ninth Circuit.
    FEB 05, 1990
    
      1
      Appeal From:  D.Or.
    
    
      2
      REVERSED.
    
    
      3
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Ninth Circuit provides by rule that dispositions that do not meet specified criteria shall not be published, and that an unpublished disposition shall not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.  Ninth Circuit Rules, Rule 36-3, 28 U.S.C.A.)
    
    